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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11

)
ENERGY FUTURE HOLDINGS CORP., et al.,|_) Case No. 14-10979 (CSS)

)
Debtors. )} Gointly Administered)

)

ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT
OF SOLIC CAPITAL ADVISORS, LLC AS FINANCIAL ADVISOR FOR
DEBTOR AND DEBTOR IN POSSESSION ENERGY FUTURE HOLDINGS
CORP. EFFECTIVE NUNC PRO TUNC TO DECEMBER 18, 2014

Upon the application (the “Application”! of debtor and debtor in possession Energy
Future Holdings Corp. (“EFH Corp.”) for the entry of an order (this “Order”) authorizing EFH
Corp., under the supervision of its disinterested directors, Donald L. Evans and Billie I.
Williamson, to retain and employ SOLIC Capital Advisors, LLC (“SOLIC”) as financial advisor,
effective nunc pro tunc to December 18, 2014, in connection with Conflict Matters as defined in
and pursuant to the authority delegated to EFH Corp.’s disinterested directors pursuant to
resolutions of the EFH Corp. Board of Directors attached to the Application as Exhibit B (the
“Resolutions”), including the determination by EFH Corp.’s disinterested directors regarding
whether any matter constitutes a Conflict Matter, pursuant to sections 327(a) and 328(a) of title

11 of the United States Code (the “Bankruptcy Code”), rules 2014(a) and 2016 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules’), and rules 2014-1 and 2016-2 of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
débtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
digits of their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

> Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.

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District of Delaware (the “Local Bankruptcy Rules”); and the Court having reviewed the
Application and the Declaration of Neil F. Luria, a Senior Managing Director and President of

SOLIC (the “Luria Declaration”); and the Court having found that the Court has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found that the
Application is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found
that venue of the Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;
and the Court having found, based on the representations made in the Application and in the
Luria Declaration, that (a) SOLIC does not hold or represent an interest adverse to EFH Corp.’s
estate and (b) SOLIC is a “disinterested person” as defined in section 101(14) of the Bankruptcy
Code and as required by section 327(a) of the Bankruptcy Code; and the Court having
determined that the terms and conditions of SOLIC’s employment, including the fee and expense
structure set forth in the Engagement Letter (attached hereto as Exhibit 1), are reasonable as
required by section 328 (a) of the Bankruptcy Code; and the Court having found that the relief
requested in the Application is in the best interests of EFH Corp.’s estate, its creditors, and other
parties in interest; and the Court having found that EFH Corp. provided adequate and appropriate
notice of the Application under the circumstances and that no other or further notice is required;
and the Court having reviewed the Application; and the Court having determined that the legal
and factual bases set forth in the Application just cause having been shown for the relief granted
herein; and any objections to the relief requested herein having been either withdrawn or
overruled; and after due deliberation and sufficient cause appearing therefor, it is HEREBY
ORDERED THAT:

1. The Application is granted to the extent set forth herein.

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2. EFH Corp. is authorized to retain and employ SOLIC as its financial advisor to
advise it on Conflict Matters, including whether a matter constitutes a Conflict Matter, consistent
with the terms and conditions set forth in the Engagement Letter, effective nunc pro tunc to
December 18, 2014, and to pay fees and reimburse expenses to SOLIC on the terms and times
specified in the Engagement Letter attached hereto as Exhibit 1; provided, however, that nothing
in the Engagement Letter shall supersede any provisions of the Bankruptcy Code during the
pendency of EFH Corp.’s chapter 11 case; provided further, however, that to the extent the
Application, the Luria Declaration, and any later declaration or the Engagement Letter is
inconsistent with this Order, the terms of this Order shall govern

3. The terms of the Engagement Letter are approved in all respects except as limited
or modified herein.

4. SOLIC’s compensation set forth in the Engagement Letter is approved pursuant to
section 328(a) of the Bankruptcy Code and SOLIC shall be compensated and reimbursed
pursuant to section 328(a) of the Bankruptcy Code in . accordance with the terms of the
Engagement Letter, subject to the procedures set forth in the Bankruptcy Code, the Bankruptcy
Rules, the Local Rules and any other applicable orders of this Court, including but not limited to
the Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses
for Professionals dated September 16, 2014 [D.I. 2066].

5. Pursuant to the terms of the Engagement Letter, SOLIC is entitled to
reimbursement by EFH Corp. for reasonable expenses incurred in connection with the
performance of its engagement under the Engagement Letter, including, without limitation, the
reasonable fees, disbursements and other charges of SOLIC’s counsel (which counsel shall not

be required to be retained pursuant to section 327 of the Bankruptcy Code or otherwise), in

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accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the
Local Bankruptcy Rules, any applicable orders of this Court and the Fee Guidelines promulgated
by the Office of the United States Trustee, provided however, that SOLIC shall not seek
reimbursement for any services provided by SOLIC’s counsel to EFH Corp.; provided further,
. that SOLIC shall submit the invoices of SOLIC’s counsel, together with any application seeking
allowance of reimbursement for the fees, disbursements and other charges of its counsel.

6. With respect to the provision of the Engagement Letter reflecting that SOLIC may
perform de novo analyses as may be required and approved by the Disinterested Directors, in
such events, SOLIC shall file a supplemental application or applications requesting authority to
undertake such analyses, which shall generally outline the scope of the de novo analyses and
identify the SOLIC professionals designated to perform such de novo analyses and their
corresponding hourly rates.

7. None of the fees payable to SOLIC shall constitute a “bonus” or fee enhancement
under applicable law.

8. Absent further order of this Court, fees and expenses incurred by SOLIC shall be
paid by EFH Corp.

9. SOLIC shall use its reasonable efforts to avoid any duplication of services
provided by any of EFH Corp.’s other retained professionals in EFH Corp.’s chapter 11 case.

10. | Notwithstanding any provision to the contrary in this Order, the U.S. Trustee shall
have the right to object to SOLIC’s request(s) for interim and final compensation and
reimbursement based on the reasonableness standard provided in section 330 of the Bankruptcy
Code, not section 328(a) of the Bankruptcy Code. This Order and the record relating to the

Court’s consideration of the Application shall not prejudice or otherwise affect the rights of the

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U.S. Trustee to challenge the reasonableness of SOLIC’s fees under the standard set forth in the
preceding sentence. Accordingly, nothing in this Order or the record shall constitute a finding of
fact or conclusion of law binding the U.S. Trustee, on appeal or otherwise, with respect to the
reasonableness of SOLIC’s fees.

11.  SOLIC shall include in its fee applications, among other things, time records
setting forth, in summary format, a description of the services rendered by each professional, and
the amount of time spent on each date by each such individual in rendering services on behalf of
ECF Corp. in half-hour increments, but SOLIC shall be excused from keeping time in tenth-hour
increments.

12. SOLIC is granted a waiver of the information requirements relating to
compensation requests set forth in Local Rule 2016-2(d) to the extent requested in the
Application.

13. SOLIC shall file fee applications for interim and final allowance of compensation

and reimbursement of expenses pursuant to the procedures set forth in sections 330 and 331 of

the Bankruptcy Code; provided, however, the fee applications filed by SOLIC shall be subject to
review only pursuant to the standard of review set forth in section 328 of the Bankruptcy Code
and not subject to the standard of review set forth in section 330 of the Bankruptcy Code, except
as otherwise expressly set forth herein.

14. The relief granted herein shall be binding upon any chapter 11 trustee appointed
in EFH Corp.’s chapter 11 case, or upon any chapter 7 trustee appointed in the event of a
subsequent conversion of EFH Corp.’s chapter 11 case to a case under chapter 7.

15. The indemnification provisions set forth in the Engagement Letter are hereby

approved, subject during the pendency of these cases to the following:

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subject to the provisions of subparagraph d., infra, EFH Corp. is
authorized to indemnify, and to provide contribution and reimbursement
to, and shall indemnify, and provide contribution and reimbursement to,
the Indemnified Persons (as defined in the Engagement Letter) in
accordance with the Engagement Letter for any claim arising from, related
to, or in connection with the services provided for in the Engagement
Letter; notwithstanding any provisions of the Engagement Letter to the
contrary;

EFH Corp. shall have no obligation to indemnify SOLIC or provide
contribution or reimbursement to SOLIC (i) for any claim or expense that
is judicially determined (the determination having become final) to have
arisen from SOLIC’s bad faith, self-dealing, breach of fiduciary duty (if
any), willful misconduct or gross negligence, (ii) for a contractual dispute
in which EFH Corp. alleges the breach of SOLIC’s contractual obligations
if the Court determines that indemnification, contribution, or
reimbursement would not be permissible pursuant to Jn re United Artists
Theatre Company, et. al., 315 F.3d 217 (3d Cir. 2003), or (iii) for any
claim or expense that is settled prior to a judicial determination as to the
exclusions set forth in clauses (i) and (ii) above, but determined by the
Court, after notice and a hearing pursuant to subparagraph d., infra, to be a
claim or expense for which SOLIC should not receive indemnity,
contribution or reimbursement under the terms of the Indemnification
Letter, as modified by this Order;

if during the pendency of EFH Corp.’s case the indemnification is held
unenforceable by reason of the exclusions set forth in subparagraph b.
above and SOLIC makes a claim for the payment of any amounts by EFH
Corp. on account of EFH Corp.’s contribution obligations, then the
contribution provisions in the Engagement Letter shall not apply; and

if, before the earlier of (i) the entry of an order confirming a chapter 11
plan in EFH Corp.’s case (that order having become a final order no
longer subject to appeal) and (ii) the entry of an order closing EFH Corp.’s
case, SOLIC believes that it is entitled to the payment of any amounts by
EFH Corp. on account of EFH Corp.’s indemnification, contribution,
and/or reimbursement obligations under the Engagement Letter {as
modified by this Order), inctuding without limitation the advancement of
defense costs, SOLIC must file an application therefor in this Court, and
EFH Corp. may not pay any such amounts to SOLIC before the entry of
an order by this Court approving the payment. This subparagraph d. is
intended only to specify the period of time during which the Court shall
have jurisdiction over any request for compensation and expenses by
SOLIC for indemnification, contribution, or reimbursement and is not a
provision limiting the duration of EFH Corp.’s obligation to indemnify
SOLIC.
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16. Notwithstanding anything to the contrary in the Application or the Engagement
Letter, SOLIC will not seek reimbursement of expenses for office supplies.

17. FH Corp. and SOLIC are authorized to take all actions necessary to effectuate
the relief granted pursuant to this Order in accordance with the Application.

18. Notice of the Application as provided therein is deemed to be good and sufficient
notice of such Application, and the requirements of the Local Bankruptcy Rules are satisfied by
the contents of the Application.

19. | The terms and conditions of this Order shall be immediately effective and
enforceable upon its entry.

20. Notwithstanding any contrary provision in the Application or the Engagement

Letter, the Court shall retain jurisdiction to hear and determine all matters arising from or related

to implementation of this Order.
Dated: Lf C// Ss [’ 4y1_-

Wilmington, Delaware The Hofiorable Christopher S. Sontchi
United States Bankruptcy Judge

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